   Case: 3:18-cr-00158-WHR Doc #: 25 Filed: 07/10/19 Page: 1 of 4 PAGEID #: 117




                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION


UNITED STATES OF AMERICA                         :    CASE NO. 3:18CR158

                v.                               :    JOINT MOTION TO CONTINUE
                                                      MOTIONS FILING DEADLINES
NASER ALMADAOJI,                                 :    AND TRIAL DATE

            Defendant.                 :
______________________________________________________________________________


        The United States of America, by and through the undersigned counsel, and the

defendant Naser Almadaoji, by and through his counsel James P. Fleisher, Esq., hereby jointly

move the Court to continue the motions filing deadlines and trial date in this matter. The current

deadline for filing oral and evidentiary motions and all other motions is July 15, 2019. The trial

in this matter is currently set to begin on September 16, 2019. For the reasons stated below, the

parties respectfully request that the Court extend the motions filing deadlines and continue the

trial date in this matter.

        On November 7, 2018, the Grand Jury for the Southern District of Ohio returned an

indictment charging Almadaoji with Attempt to Provide Material Support or Resources to

Designated Foreign Terrorist Organizations, namely, ISIS and ISIL Khorasan, in violation of 18

U.S.C. § 2339B. Docket No. 13. On December 4, 2018, the government filed a motion for a

pretrial conference pursuant to Section 2 of the Classified Information Procedures Act (“CIPA”).

Docket No. 16. In the Section 2 filing, the government stated that it “anticipates possible issues

relating to classified information in this case, particularly concerning discovery” and,

accordingly, “anticipates invoking Section 4” of CIPA. (Id. at 1, 8). The government requested

a deadline of May 15, 2019, to file a motion under CIPA Section 4. (Id. at 8).
   Case: 3:18-cr-00158-WHR Doc #: 25 Filed: 07/10/19 Page: 2 of 4 PAGEID #: 118




       On December 12, 2018, the Court issued a preliminary pretrial order establishing several

deadlines for discovery and pretrial motions. Docket No. 19. Among those deadlines, and

consistent with the government’s request in its CIPA Section 2 filing, the Court established a

deadline of May 15, 2019, for both Oral and Evidentiary Motions and Other Motions, which

deadline was applicable to both parties. Id. On April 17, 2019, the United States filed a motion

to continue the motions filing deadline for a period of approximately 30 days, until June 14,

2019. Docket No. 21. On April 18, 2019, the Court granted the government’s motion by

notation order, establishing a new motions filing date of June 14, 2019. On June 10, 2019, the

parties filed a joint motion to continue the motions filing deadline for a period of approximately

30 days, until July 15, 2019. Docket No. 24. On June 11, 2019, the Court granted the parties’

motion by notation order, establishing a new motions filing date of July 15, 2019.

       Between December 2018 and June 2019, the government has produced to the defendant

thousands of pages of discovery in this case, with the most recent production occurring on May

31, 2019. The government continues to work through possible classified information issues, and

still anticipates invoking CIPA Section 4 and filing an appropriate motion consistent with the

statute. The defendant is continuing to review discovery provided by the government to

determine what, if any, motions may be appropriate to file. The defendant requires additional

time to conduct this discovery review and make this determination. In addition, the parties have

commenced discussions regarding a pre-trial resolution of this matter. Such a resolution may

change the need for, or scope of, any possible pre-trial motions, to include the anticipated motion

under CIPA Section 4, as well as the need for trial.

       This motion is made to permit the parties sufficient opportunity to conduct ongoing plea

negotiations and/or prepare for trial and motions. Given the status of plea negotiations and



                                                 2
   Case: 3:18-cr-00158-WHR Doc #: 25 Filed: 07/10/19 Page: 3 of 4 PAGEID #: 119




discovery, the failure to grant the requested continuance “would be likely to . . . result in a

miscarriage of justice,” and “would deny counsel for the defendant . . . the reasonable time

necessary for effective preparation, taking into account the exercise of due diligence.” 18 U.S.C.

§ 3161(h)(7)(B)(i), (iv). Accordingly, the parties submit that “the ends of justice served by the

granting of [a] continuance outweigh the best interests of the public and the defendant in a

speedy trial.” Id. § 3161(h)(7)(A). Defendant understands that, in requesting this continuance, he

will be tolling the speedy trial clock.

       WHEREFORE, the parties respectfully request that the Court continue the deadline for

filing motions and the trial date to future dates as determined by the Court.

                                               Respectfully submitted,

                                               BENJAMIN C. GLASSMAN
                                               United States Attorney

James P. Fleisher                              s/ Dominick S. Gerace
JAMES P. FLEISHER (0059509)                    DOMINICK S. GERACE (OH 0082823)
Bieser, Greer & Landis, LLP                    Assistant United States Attorney
6 North Main Street, Suite 400                 VIPAL J. PATEL (CA 156212)
Dayton, OH 45402                               First Assistant United States Attorney
Office: (937) 223-3277                         200 West Second Street, Suite 600
Fax: (937) 223-6339                            Dayton, Ohio 45402
jpf@biesergreer.com                            Office: (937) 225-2910
                                               Fax: (937) 225-2564
Counsel for Defendant                          dominick.s.gerace@usdoj.gov
                                               vipal.patel@usdoj.gov

                                               s/Steven Ward
                                               STEVEN WARD (DC 395410)
                                               Trial Attorney
                                               National Security Division
                                               United States Department of Justice
                                               950 Pennsylvania Avenue, NW
                                               Washington, DC 20004
                                               Office: (202) 305-2461
                                               steven.ward@usdoj.gov




                                                  3
   Case: 3:18-cr-00158-WHR Doc #: 25 Filed: 07/10/19 Page: 4 of 4 PAGEID #: 120




                                 CERTIFICATE OF SERVICE

       This is to certify that on this 10th day of July, 2019, I filed the foregoing using the Court’s

ECF system, which will send electronic notification of such filing to all counsel of record.



                                              s/ Dominick S. Gerace
                                              DOMINICK S. GERACE (OH 0082823)
                                              Assistant United States Attorney




                                                 4
